Case 2:03-cv-02950-STA-d|<v Document 94 Filed 08/15/05 Page 1 of 6 Page|D 108

IN THE UNITED sTATEs DISTRICT coURTH"ED BYZ]*-/-- D-C-
FOR THE wEsTERN DISTRICT oF TENNESSE§
wEsTERN DIvIsIoN AUG 15 PH 3: 21

 

W{D@Qujwvnn
v

  

as;<,li§‘;. ~“‘”.?""" +
m .._}@>§§W

PAUL FARNSWORTH a/k/a
RONNIE BRADFIELD,

Plaintiff,
vs. No. 03-2950-B/V
EDWARD BAXTER, et al.,

Defendants.

>-<><>'<>-<><><>-<>-<>-<>-<>-<>-<

 

ORDER DENYING PLAINTIFF’S MOTION TO COMPEL

 

On January 4, 2005, plaintiff Paul Farnsworth, a/k/a
Ronnie Bradfield, Tennessee Department of Correction (“TDOC”)
prisoner number 219625, who was, at the time he commenced this
action, an inmate at the West Tennessee State Penitentiary (“WTSP”}
in Henning, Tennessee, filed a motion, entitled “Motion by
Plaintiff for Court's Discretion to Allow Request for Admission
Which Was Not Complied by the Defendant(s) Pursuant to rules 36 and
37 Rule that All Plaintiff’s Request for Admission Are Forthwith
Allowed As All being Admitted,” along with an accompanying
memorandum. The Court CONSTRUES the motion as one to determine the

sufficiency of the defendant's responses to requests for admission,

pUBDCe

@

lt is docu‘ \e[l£ ante ed OI [ 3 docket S\leet lou COH

mm P\u\@ 58 and

Case 2:03-cv-02950-STA-d|<v Document 94 Filed 08/15/05 Page 2 of 6 Page|D 109

pursuant to Fed. R. Civ. P. 36, q 2.l Defendant filed a response in
opposition to the motion on January 18, 2005.

Resolution of the plaintiff's motion is complicated by
the facts that the plaintiff has not specified the requests at
issue and has not advanced any specific argument with respect to
any of his requests to admit. Instead, the plaintiff seemingly asks
the Court to undertake a de novo review of the requests as a whole.
The Court will address each request and its response in turn.

Request No. 1: That defendants owes the Plaintiff
named herein a duty of care to provide him with religious
service (Jewish's [sic] {Messianic”) as required. and
mandated pursuant to T.D.O.C. Policy (s) 118.01 et seq.

(See attached Policy page 32 @(B)(l)(a).

Response: Defendant objects to this request for
admission on the basis that it states a legal conclusion
rather than factual allegations.

Pursuant to Fed. R. Civ. P. 36(a), j 1, “[a] party may
serve upon any other party a written request for the admission, for
purposes of the pending action only, of the truth of any matters
within the scope of Rule 26{b)(1) set forth in the request tha;

relate to statements or Opinions of fact or of the application of

law to fact, including the genuineness of any documents described

 

in the request” (emphasis added). Although the defendant’s
objection is perhaps overly broad, the Court declines to order the

defendant to serve an amended, answer~ because the request, as

 

1 That paragraph provides: “The party who has requested the admissions

may move to determine the sufficiency of the answers or objections. Unless the
court determines that an objection is justified, it shall order that an answer be
served. If the court determines that an answer does not comply with the
requirements of this rule, it may order either that the matter is admitted or that
an amended answer be served. The court may, in lieu of these orders, determine that
final disposition of the request be made at a pre-trial conference or at a
designated time prior to trial.

Case 2:03-cv-02950-STA-d|<v Document 94 Filed 08/15/05 Page 3 of 6 Page|D 110

drafted, is not clear. In particular, it is not clear that the
defendant’s failure to schedule Messianic Jewish religious services
for the plaintiff is, in fact, a violation of TDOC Policy No.

118.01.2 Accordingly, this aspect of the plaintiff’s motion is

DENIED.

Reguest No. 2: That to date Edward Baxter and the
orther (sic) Defendant(s) named therein Complaint have
failed to provide as wel {sic) correction action that
would allow Plaintiff to practice his religion and have
religious services upon the (Shabbat) (sic) Sabbath as
required in the JEWISH FAITH. (see EXODUS Chp.

Response: Defendant object to this request for
admission on the basis that it is incomprehensible that
this [sic] cannot be responded to by the defendant.

Because this request is not clear, and because it assumes
the existence of more than one defendant and claims other than the
denial of Messianic Jewish religious services, plaintiff’s
objection to the defendant's response is without merit and is

DENIED.

Reguest No. 3: That if all other religion(s} are
allowed to practice their faith(s) & beliefs and
Plaintiff is denied same that not only have he been
discriminated against but as well have been denied his
constitutional right to practice his religious beliefs in
violation of his U.S. Const. first [sic] Amendment right,
as well as that of the restore (religious freedom
resoration [sic] act {R.F.A.}).

Response: Defendant objects to this request for
admission on the basis that it states a legal conclusion
rather than factual allegations.

The Court declines to order the defendant to supplement

his response to this motion. because the request, as drafted,

 

2 It is also potentially misleading to describe the defendant‘s “duty”

as arising out of a TDOC policy statement. Pursuant to 42 U.S.C. § 1983, the
plaintiff must establish that the defendant's conduct violates the United States
Constitution or federal law.

Case 2:03-cv-02950-STA-d|<v Document 94 Filed 08/15/05 Page 4 of 6 Page|D 111

improperly assumes the absence of any relevant difference between
the religion the plaintiff professes to follow and every other
religious faith practiced by prisoners at the WTSP. Thus, the
request posits as facts that “all other religion(s) are allowed to
practice their faith(s)” and that the plaintiff’s faith has been
discriminated against. As the plaintiff has not established the

existence of these facts, the Court DENIES the plaintiff’s motion.

Reguest No. 4.5 [sic]: Further that defendant(s)

have also denied plaintiff to obtain as well havein [sic]
his possession, prayer shawls, {Tallit{; Phylacteries
{Teffillin}, and as well failed to provide Plaintiff at
his facility diet 9s) in proportion to his beliefs and
requirments [sic] of the Jewish faith. (see TDOC Policy
118.01 Page 3 of 5 @ (c) and as well that of Page 4 of 5
@ 3- thru- 5 {see attcahed [sic] policy 118.01).

Response: Defendant objects to this request for
admission on the basis that it concerns irrelevant
information beyond the scope of the complaint and is not
calculated to lead to the discovery of admissible
evidence.

The Court declines to order the defendant to supplement
his response because the only claim in this case concerns the

denial of Messianic Jewish religious services.

Request No. 6: That Plaintiff is a Messianic Jew
(see affidavit attached Plaintiff’s exhibit #B, as well
that Of MOSKOWI'I'Z v. WILKINSON, 432 F`. Supp. 947 @ 949
{4} (1977), as well that of cRUz v. BETO, 405 U.s. 319,
322 @ n.2 (1972) (per curiam) and that he is entitled to
Constitutional proctection [sic] for same as well relief
sought if those rights are violated.

Response: Upon information and belief the defendant
denies that the plaintiff is a Messianic Jew. The
remaining request for admission is objected to on the
basis that it states legal conclusions rather than
factual allegations.

As the defendant has denied that the plaintiff is a

Messianic Jew, the motion to compel is not properly directed to

Case 2:03-cv-02950-STA-d|<v Document 94 Filed 08/15/05 Page 5 of 6 Page|D 112

this aspect of the request. As the remainder of the request assumes
that the plaintiff is, in fact, a Messianic Jew, a fact that has
not been established, the plaintiff's motion to compel is DENIED.

Reguest No. 7: That it is the Chaplain’s Duty an
[sic] responsibility {as well Warden and other defendants
therteof [sic] for planning, leading administering, and
“COORDINATING ACTIVITIES AND DEVELOPING COMMUNITY
RESOURCES TO METT [sic] THE RELIGIOUS “NEEDS” OF
INMATES... (see policy 118.01 page 2 of 5 @ B(l)(a) et
seq.

Response: Defendant objects to this request for
admission on the basis that it states a legal conclusion
rather than factual allegations.

The Court declines to order the defendant to file an
amended response because the request, as drafted, is unclear. For
example, the request assumes, incorrectly, that there is more than
one defendant to this action.

Reguest No. 8: Pursuant to; T.C.A. § 41-1-103

{attached Exhibit #Ta) That Tennessee Law as well U.S.
Const. lst Amendment further support the Plaintiff's
position that Defendant owes a duty and care to the
Plaintiff herein.

Response: Defendant objects to this request for
admission on the basis that it states a legal conclusion
rather than factual allegations.

The defendant's objection to this request is appropriate.

Moreover, as this case was brought pursuant to 42 U.S.C. § 1983,
the defendant's duties under Tennessee law do not appear to be

relevant. The plaintiff's motion is DENIED.

fb-
IT IS SO ORDERED this /Er day of August, 2005.

/©,<a/)/Lt /C @J/'M

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:03-CV-02950 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Paul Farnsworth
219625

960 State Route 212
Tiptonville7 TN 38079

Pamela S. Lorch

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Edward Baxter

STATE OF TENNESSEE DEPARTi\/[ENT OF CORRECTION
Warden's Oftice

P.O. Box l 150

Henning, TN 38041

Honorable J. Breen
US DISTRICT COURT

